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UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DISTRICT OF NEW YORK



OPERATING ENGINEERS CONSTRUCTION
INDUSTRY AND MISCELLANEOUS
PENSION FUND,
                                  Plaintiff,

                        v.

JAMES DIMON, ASHLEY BACON,
LINDA B. BAMMANN, JAMES A. BELL,
JOHN H. BIGGS, CRANDALL C.
BOWLES, STEPHEN B. BURKE, TODD A.
COMBS, DAVID M. COTE, JAMES S.
                                                      Case No. 23-cv-03903-JSR
CROWN, MARY C. ERDOES, TIMOTHY
P. FLYNN, ELLEN V. FUTTER,
MELLODY HOBSON, JOHN J. HOGAN,
LABAN P. JACKSON, JR., JOHN W.
KESSLER, ROBERT I. LIPP, RICHARD A.
MANOOGIAN, MICHAEL A. NEAL,
DAVID C. NOVAK, LEE R. RAYMOND,
JAMES E. STALEY, WILLIAM C.
WELDON, and BARRY L. ZUBROW,
                            Defendants.

and

JPMORGAN CHASE & CO.

                             Nominal Defendant.

                               NOTICE OF APPEARANCE

              PLEASE TAKE NOTICE THAT the undersigned, of the law firm of Paul, Weiss,

Rifkind, Wharton & Garrison LLP, is hereby entering an appearance as counsel of record for

Linda B. Bammann, James A. Bell, John H. Biggs, Stephen B. Burke, Todd A. Combs, David M.

Cote, James S. Crown, Timothy P. Flynn, Ellen V. Futter, Mellody Hobson, Laban P. Jackson,
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Jr., John W. Kessler, Robert I. Lipp, Richard A. Manoogian, Michael A. Neal, David C. Novak,

Lee R. Raymond, and William C. Weldon in the above-captioned matter.

Dated:   June 22, 2023
         New York, NY                             Respectfully submitted,

                                                  PAUL, WEISS, RIFKIND, WHARTON &
                                                  GARRISON LLP

                                                  By: /s/ Jessica S. Carey
                                                      Jessica S. Carey

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                                                  Counsel for Defendants Linda B. Bammann, James
                                                  A. Bell, John H. Biggs, Stephen B. Burke, Todd A.
                                                  Combs, David M. Cote, James S. Crown, Timothy
                                                  P. Flynn, Ellen V. Futter, Mellody Hobson, Laban
                                                  P. Jackson, Jr., John W. Kessler, Robert I. Lipp,
                                                  Richard A. Manoogian, Michael A. Neal, David C.
                                                  Novak, Lee R. Raymond, and William C. Weldon




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